USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 1 of 32




                           EXHIBIT 11
USDC IN/ND case 3:21-cv-00223-DRL            document 69-11       filed 05/31/23    page 2 of 32


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

  SHELDON SCOTT and JAMES TAYLOR, )
                                        )
                           Plaintiffs,  )
                                        )
          v.                            )             Civil Action No. 3:21-cv-00223-DRL-MGG
                                        )
  CITY OF SOUTH BEND, SCOTT A.          )
  RUSZKOWSKI, Individually and in his   )
  Official Capacity as Chief of Police, )
  TIMOTHY LANCASTER,                    )
  JASON BIGGS, KAYLA MILLER, and        )
  MERRICK GARLAND                       )
  in his official capacity              )
  as the U.S. Attorney General          )
                                        )
                           Defendants.  )

                           AFFIDAVIT OF SCOTT RUSZKOWSKI

        I, the undersigned, Scott Ruszkowski, being first duly sworn upon my oath, state as

 follows:

        1.     I am over 18 years of age and am competent to make this affidavit. I have personal

 knowledge of the matters stated herein.

        2.     I have been the Chief of the South Bend Police Department since October 1, 2015.

        3.     During my tenure as Chief, James Taylor was a Detective in the Detective Bureau

 of the South Bend Police Department until he resigned effective August 2, 2021.

        4.     On July 8, 2020, Taylor disregarded a directive from his direct supervisor, Kayla

 Miller (who was at that time, the rank of Sergeant). The directive pertained to an investigation

 that had been assigned to Detective Martinsky.




                                                  1
USDC IN/ND case 3:21-cv-00223-DRL               document 69-11        filed 05/31/23     page 3 of 32


        5.      As a result of the insubordination, Miller completed an Administrative Advisory

 Form, which was provided to Internal Affairs. A copy of the Administrative Advisory is attached

 as Attachment 1. Other than the redactions and information that has been added to the footer, this

 is a true and accurate copy of the Administrative Advisory form concerning Taylor’s July 8, 2020

 insubordination.

        6.      The investigation of Taylor’s conduct confirmed that Taylor disregarded Miller’s

 directive, and that Taylor also failed to submit a required report documenting his actions in the

 investigation. A copy of the investigation report is also included at Attachment 1. Other than the

 redactions and information that has been added to the footer of the pages, this is a true and accurate

 copy of the investigation report I reviewed following the investigation of Taylor’s conduct.

        7.      Taylor was already on a performance improvement plan (“PIP”) when he

 disregarded Miller’s directive on July 8, 2020. The PIP was issued on May 6, 2020, after Taylor

 had exhibited a pattern of performance and conduct issues that had continued despite previous

 coaching and disciplines issued to Taylor.

        8.      During the period of Taylor’s PIP, I had continuous concerns about Taylor’s

 behavior, performance, and reported memory loss.

        9.      Upon receiving the Administrative Advisory and the Internal Affairs report

 concerning Taylor’s July 8, 2020 insubordination (see Attachment 1), I contacted Human

 Resources for guidance.

        10.     Human Resources recommended that Taylor be placed on light duty status until a

 fit for duty evaluation is completed.




                                                   2
USDC IN/ND case 3:21-cv-00223-DRL               document 69-11        filed 05/31/23     page 4 of 32


        11.     I agreed with Human Resources’ recommendation and wrote on the Administrative

 Advisory form that Taylor had only completed three of the eight PIP requirements and that Taylor

 will be sent for a fit for duty evaluation. See Attachment 1.

        12.     As part of my duties as Chief, I have knowledge of the performance of officers, as

 well as disciplinary actions issued to officers. I also have access to personnel records and internal

 affairs records of officers that are maintained by the South Bend Police Department and kept

 in the ordinary course of business.

        13.     During my tenure as Chief, other officers, like Taylor, have received discipline for

 policy violations. For example, Officer Lauren Slisher was placed on a performance improvement

 plan after she committed a March 13, 2022 pursuit policy violation and a subsequent March 29,

 2022 pursuit policy violation where she operated her department vehicle outside of approved

 standards. Documents pertaining to these violations are attached as Attachment 2. Other than the

 information that has been added to the footer of the pages, the documents in Attachment 2 are true

 and accurate copies of the Internal Affairs records maintained by the South Bend Police

 Department.

        14.     On May 24, 2022, Officer Lauren Slisher was the subject of an administrative

 investigation after her third violation of the Department’s pursuit policies. Specifically, during a

 May 22, 2022 pursuit, Officer Slisher disregarded traffic control devices, did not activate her lights

 and sirens appropriate, and drove her vehicle in an unsafe manner. As a result of that investigation

 and due to her third violation of Department pursuit policies, Officer Slisher was given a letter of

 reprimand, a six-day suspension without pay, mandatory training, and six more months where she

 was ineligible for promotion. Documents pertaining to Officer Slisher’s additional violation and

 resulting discipline are attached as Attachment 3. Other than the information that has been added

                                                   3
USDC IN/ND case 3:21-cv-00223-DRL               document 69-11          filed 05/31/23    page 5 of 32



   to the footer of the pages. the documents in Attachment 3 are true and accurate copies of the

   personnel records maintained by the South Bend Police Department.

          15.    As a parl of my duties as Chief, Ihave knowledge of personnel changes.

          16.    Sheldon Scott retired frorn his employment with the South Bend Police Department

   on April 25.2023.

          I declare, under penalty for periury, that the fbregoing is true and correct.


   Executed on this 31st day of May,2023.




                                                         Scott Ruszkowski
USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 6 of 32




                            ATTACHMENT 1
USDC IN/ND case 3:21-cv-00223-DRL    document 69-11   filed 05/31/23   page 7 of 32




 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                       South Bend 02401
USDC IN/ND case 3:21-cv-00223-DRL    document 69-11   filed 05/31/23   page 8 of 32




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USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 12 of 32




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USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 14 of 32




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USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 15 of 32




                             ATTACHMENT 2
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 16 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03900
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 17 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03901
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 18 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03902
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 19 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03903
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 20 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03904
USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 21 of 32




                             ATTACHMENT 3
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 22 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03878
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 23 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03879
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 24 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03880
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 25 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03883
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 26 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03884
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 27 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03885
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 28 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03886
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 29 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03887
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 30 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03888
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 31 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03889
                                             USDC IN/ND case 3:21-cv-00223-DRL   document 69-11   filed 05/31/23   page 32 of 32




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                         South Bend 03890
